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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 20-23716-CIV-ALTONGA/Goodman

  SABRINA RENEE WATERS,

            Plaintiff,
  vs.

  WESTERN WORLD
  INSURANCE COMPANY

            Defendant.
  ___________________________/



                         PLAINTIFF’S RULE 26 EXPERT WITNESS DISCLOSURE

            Plaintiff, SABRINA RENEE WATERS (“Plaintiff” or “Insured”), by and through the

  undersigned counsel, in accordance with the Federal Rule of Civil Procedure hereby submits this

  Rule 26(a)(2)(C) hybrid expert/fact witness disclosure as follows:

        I. Plaintiff hereby designates the following expert witnesses to testify on her behalf:

            Reynaldo Alvarez – licensed plumber; performed video, sewer scope and evaluation of
            the sewer drain line.
            Plumbing Diagnostics
            12011 SW 129th Court, Bay 2
            Miami, Florida 33186
            Telephone: (786)250-4557

         Plumbing Diagnostics is a company of licensed plumbers operating under master
  plumber license CFC037112. Reynaldo Alvarez is a licensed plumber employed by Plumbing
  Diagnostics. He is expected to testify regarding the evaluation and inspection of the insured’s
  drainage lines. A copy of Mr. Alverez’ CV and the Plumbing Diagnostic’s Report is being
  provided to counsel, contemporaneously with this disclosure. Mr. Alvarez has given expert
  testimony for Gulf Stream Insurance Company, MP & Associates, and Tower Hill Insurance
  Company. Mr. Alvarez would be compensated $350-450 per hour plus travel for the study and
  testimony in this case.

            Giovanni Bango – Public Adjuster
            All Pro Claims Adjuster
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         8421 SW 143rd Ave.
         Miami, FL 33183
         305-707-8451

          Mr. Bango is a licensed public adjuster who has extensive work experience working as an
  independent adjuster. Mr. Bango is a licensed public adjuster employed by All Pro Claims
  Adjuster. He is expected to testify regarding his evaluation and inspection of the damage to the
  insured’s property. He is also expected to testify regarding the estimated amount of repairs
  necessary to fix or repair the damage to the insured’s property. A copy of Mr. Bango’s CV and
  All Pro Claim Adjuster’s Estimate/Report is being provided to counsel, contemporaneously with
  this disclosure. Mr. Bango testified in 2019 in the case of John Czelusniak v. Security First. In that
  case he acted in the capacity of a loss consultant damage expert in the successful trial settlement for
  the insured. Mr. Bango would be compensated $325 per hour for the study and testimony in this case.




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 20, 2021, a true and correct copy of the foregoing

    was electronically filed with the Clerk of the Court by using the CM/ECF system and was sent

    via electronic mail to:

   Troy J. Seibert, Esquire
   Butler, Weihmuller, Katz, Craig, LLP.
   400 N. Ashley Drive, Suite 2300
   Tampa, Florida
   33602
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                                             Secondary Email: Eservice@Yourinsuranceattorney.com

                                             By: /s/ Aristides Diaz, Esq.___
                                                Aristides “Kico” Diaz, Esq.
                                                Florida Bar No. 118400
                                                Jalitza Serrano, Esq.
                                                Florida Bar No. 1025700
